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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     ROBERT ALLEN BOHANNA
6

7

8                   IN THE UNITED STATES DISTRICT COURT
9                  FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )         2:07-cr-0201 FCD
                                   )
12                  Plaintiff,     )         STIPULATION AND ORDER CONTINUING
                                   )         STATUS CONFERENCE/CHANGE OF PLEA
13        v.                       )
                                   )
14   ROBERT ALLEN BOHANNA and      )         DATE: March 31, 2008
     NORMAN GRESHAM III,           )         Time: 10:00 a.m.
15                                 )         Judge: Frank C. Damrell Jr.
                    Defendants.    )
16   ______________________________)
17        Defendant ROBERT ALLEN BOHANNA, by and through his counsel,
18   DENNIS S. WAKS, Supervising Assistant Federal Defender, defendant
19   NORMAN GRESHAM III, by and through his counsel, CHRISTOPHER
20   HAYDN-MYER, and the United States Government, by and through its
21   counsel, WILLIAM S. WONG, Assistant United States Attorney,
22   hereby stipulate that the status conference/change of plea
23   hearing set for March 17, 2008, be rescheduled for a status
24   conference/change of plea hearing on March 31, 2008, at
25   10:00 a.m. for both defendants.
26        This continuance is being requested because defense counsel
27   require additional time to negotiate plea agreements, to continue
28   to review discovery, discuss the case with the government, pursue

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1    investigation, and negotiate a proposed disposition.
2         The parties submit that the ends of justice are served by
3    the Court excluding such time through March 31, 2008, so that
4    they may have reasonable time necessary for effective
5    preparation, taking into account the exercise of due diligence.
6    18 U.S.C. § 3161(h)(8)(B)(iv) (Local T4).
7    Dated: March 19, 2008                   Respectfully Submitted,
8                                            McGREGOR W. SCOTT
                                             United States Attorney
9

10                                            /s/ Dennis S. Waks for
                                             WILLIAM S. WONG
11                                           Assistant U.S. Attorney
12

13   Dated: March 19, 2008                   /s/ Dennis S. Waks
                                             DENNIS S. WAKS
14                                           Supervising Assistant
                                             Federal Defender
15                                           Attorney for Defendant
                                             ROBERT ALLEN BOHANNA
16

17   Dated: March 19, 2008                   /s/ Christopher Haydn-Myer
                                             CHRISTOPHER HAYDN-MYER
18                                           Attorney for Defendant
                                             NORMAN GRESHAM, III
19

20        IT IS SO ORDERED.
21   Dated: March 21, 2008
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23
                                             FRANK C. DAMRELL, JR.
24                                           United States District Judge
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